
944 So.2d 564 (2006)
In re Joseph G. PASTOREK, II.
No. 2005-OB-2336.
Supreme Court of Louisiana.
December 15, 2006.

ON APPLICATION FOR ADMISSION TO THE BAR
PER CURIAM.
Petitioner, Joseph G. Pastorek, II, successfully passed the essay portion of the Louisiana Bar Examination. However, the Committee on Bar Admissions ("Committee") declined to certify him for admission to the Bar based upon character and fitness concerns. On petitioner's application to this court, we appointed the Office of Disciplinary Counsel to conduct an investigation and appointed a commissioner to take character and fitness evidence. Following the proceedings, the commissioner filed his report with this court, recommending that petitioner be admitted to the practice of law. Neither petitioner nor the Committee objected to that recommendation.
Considering the commissioner's recommendation and the entire record of this proceeding, we conclude petitioner has satisfied his burden of proving that he has "good moral character" to be admitted to the Bar of this state. See Supreme Court Rule XVII, § 5(E). Accordingly, it is ordered that the application for admission be and hereby is granted.
TRAYLOR and KNOLL, JJ., would deny admission.
